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 4
 5                                UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                 Case No. 2:13-cr-029-APG-GWF
                                               )
10   vs.                                       )                 FINDINGS &
                                               )                 RECOMMENDATIONS
11   DAVID ALLAN GARRETSON,                    )
                                               )                 Motion to Dismiss - #50
12                     Defendants.             )
     __________________________________________)
13
14          This matter is before the Court on Defendant David Allen Garretson’s Motion to Dismiss
15   Count Six of the Indictment for Failure to State an Offense and, in the Alternative, Motion to
16   Dismiss The Count As Violative of the Second Amendment as Applied (#50), filed on April 8,
17   2013. The Government filed its Opposition to Defendant’s Motion to Dismiss Count Six of the
18   Indictment (#56) on April 25, 2013. Defendant filed his Reply to the Government’s Opposition to
19   the Motion (#63) on May 1, 2013.
20                                      FACTUAL BACKGROUND
21          On November 5, 2012, officers of the Las Vegas Metropolitan Police Department
22   (LVMPD) executed a warrant to search Defendant Garretson’s property, including his residence,
23   for evidence relating to the possession, production and distribution of marijuana. During the
24   execution of the warrant, the officers found and seized numerous firearms that were located in the
25   master bedroom of Defendant Garretson’s house. The officers also found an “Extended Order for
26   Protection Against Domestic Violence” (hereinafter “order”) that was issued by the District Court,
27   Family Division, Clark County, Nevada, Case No. T12139331T, against David Garretson on March
28   7, 2012 and which was due to expire on March 7, 2013. Motion to Dismiss (#50), Exhibit A. The
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 1   applicant on the order was identified as Ruchelle Stuart. The order did not describe the nature of
 2   Ms. Stuart’s relationship to David Garretson. It did not indicate, for example, whether Ms. Stuart
 3   was Defendant’s spouse, former spouse, or present or former girlfriend.
 4           A box below the case caption on the order contained four different notices to the adverse
 5   party, Mr. Garretson. It also included the following:
 6           WARNING: Possession of a firearm or ammunition while this order is in effect
                      may constitute a felony under federal law punishable by a fine of up
 7                    to $250,000 and/or a prison sentence of up to ten (10) years.
 8           Below the box and on the first and second pages, the Domestic Violence Protection Order
 9   further stated:
10                     The court having considered the filings, testimony and evidence
                       presented at the hearing, and the court having found that the Adverse
11                     Party received actual notice of the hearing at which such person had
                       an opportunity to participate, and the Adverse Party [was not present]
12                     . . . and the Court having jurisdiction over the parties and this matter
                       pursuant to NRS 33.010 et seq., and it appearing to the satisfaction of
13                     the Court from specific facts shown that an act of domestic violence
                       has occurred and/or you represent a credible threat to the physical
14                     safety of the above-named Applicant or minor child(ren), the court
                       enters an extended order and as a result:
15
                       YOU ARE PROHIBITED, either directly or through an agent, from
16                     threatening, physically injuring, or harassing the above named
                       Applicant and/or minor child(ren), and from selling, damaging,
17                     destroying, giving away, or otherwise disposing of, or tampering
                       with, any property owned by the Applicant, or in which Applicant has
18                     an interest.
19           Based on the Extended Order for Protection Against Domestic Violence and Defendant
20   Garretson’s alleged possession of firearms, Count Six of the Indictment charges him with the
21   possession of a firearm in violation of 18 U.S.C. §922(g)(3) and §924(a)(2). Although the
22   Indictment identifies the incorrect subsection of §922(g), this is not the basis for the Defendant’s
23   current motion to dismiss. The correct subsection of the statute upon which Count Six of the
24   Indictment is based is §922(g)(8) which states as follows:
25                     It shall be unlawful for any person who is subject to a court order that
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26
                                     (A) was issued after a hearing of which such person
27                            received actual notice, and at which such person had an
                              opportunity to participate;
28

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 1                                  (B) restrains such person from harassing, stalking or
                            threatening an intimate partner of such person or child of such
 2                          intimate partner or person, or engaging in other conduct that
                            would place an intimate partner in reasonable fear of bodily
 3                          injury to the partner or child; and
                                    (C)(i) includes a finding that such person represents a
 4                          credible threat to the physical safety of such intimate partner
                            or child; or
 5                                  (ii) by its terms explicitly prohibits the use, attempted
                            use, or threatened use of physical force against such intimate
 6                          partner or child that would reasonably be expected to cause
                            bodily injury[,]
 7
                    to ship or transport in interstate or foreign commerce, or possess in or
 8                  affecting commerce, any firearm or ammunition; or to receive any
                    firearm or ammunition which has been shipped or transported in
 9                  interstate or foreign commerce.
10          “Intimate partner” is defined in 18 U.S.C. §921(a)(32) as follows:
11                  The term “intimate partner” means, with reference to a person, the
                    spouse of the person, a former spouse of the person, an individual
12                  who is a parent of a child of the person, and an individual who
                    cohabitates or has cohabitated with the person.
13
14                                              DISCUSSION
15          Defendant argues that for an individual to be subject to prosecution under §922(g)(8), the
16   order upon which the charge is based must contain all of the elements set forth in the statute,
17   including that the person in whose favor the order is entered is “an intimate partner” of the
18   Defendant. Because the order does not expressly identify Ruchelle Stuart as Defendant’s intimate
19   partner, he argues that Count Six must be dismissed. Alternatively, the Defendant argues that the
20   statute, as applied, violates his right to bear arms under the Second Amendment to the United
21   States Constitution.
22          1.      Whether Count Six of the Indictment Should be Dismissed Because the
                    Underlying Domestic Violence Protective Order Does Not Expressly Identify
23                  the Applicant as Defendant’s “Intimate Partner.”
24          In support of his argument that the indictment must be dismissed for its failure to identify
25   Ruchelle Stuart as his intimate partner, Defendant relies on United States v. Sanchez, 639 F.3d
26   1201 (9th Cir. 2011). In Sanchez, the defendant was indicted for violating §922(g)(8). The
27   indictment was based on a written judgment and conditions of probation for defendant’s domestic
28   violence conviction which directed defendant to “violate no laws” and “have no contact with” his

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 1   former girlfriend. The written conditions of probation also precluded defendant from initiating
 2   telephone contact, correspondence, personal or third party contact with the victim without prior
 3   written approval of the probation officer and also ordered him to avoid all contact with the victim’s
 4   family unless approved by the probation officer. The defendant moved to dismiss the indictment
 5   on the grounds that “the statute requires the triggering court order to ‘by its terms explicitly
 6   prohibit’ the use, attempted use, or threatened use of physical force against an intimate partner.”
 7   639 F.3d at 1203. The district court denied the motion and defendant was subsequently convicted
 8   of violating §922(g)(8).
 9           The issue before the court in Sanchez concerned §922(g)(8)(C) which requires that the order
10   (i) include a finding that such person represents a credible threat to the physical safety of such
11   intimate partner or child, or (ii) that the order by its terms explicitly prohibit the use, attempted use,
12   or threatened use of physical force against such intimate partner or child that would reasonably be
13   expected to cause bodily injury. There was no finding in the judgment or conditions of probation
14   that Sanchez represented a credible threat to the physical safety of his girlfriend. Nor did the
15   documents contain language that expressly prohibited the use, attempted use, or threatened use of
16   physical force against the defendant’s girlfriend. The court noted that other circuits have reached a
17   consensus that subsection “(C)(ii) is satisfied by a court order that includes explicit terms similar--
18   if not identical--in meaning to ‘the use of physical force that would reasonably be expected to cause
19   bodily injury.’” Sanchez, 639 F.3d at 1204, citing United States v. DuBose, 598 F.3d 726, 730-31
20   (11th Cir. 2010) (per curiam); United States v. Coccia, 446 F.3d 233, 242 (1st Cir. 2006); and
21   United States v. Bostic, 168 F.3d 718, 722 (4th Cir. 1999). In following the interpretation adopted
22   by these circuits, the Ninth Circuit looked to the language of the statute and the plain meaning of
23   the word “explicit.” The court stated:
24                   Under any of these definitions, for a court order to “by its terms
                     explicitly” prohibit the use, threatened use, or attempted use of
25                   physical force, it must include terms that clearly—without
                     implication, vagueness, or ambiguity—prohibit the use, threatened
26                   use, or attempted use of physical force. While this does not require
                     the court order to track the language of (8)(C)(ii), it must include
27                   specific terms that clearly—and without implication—prohibit such
                     activity. A court order that merely requires “no contact” does not
28                   explicitly prohibit such activity.

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 1          Sanchez, 639 F.3d at 1205.
 2          The court also held that this interpretation was consistent with the rule of statutory
 3   construction that “language employed in a penal statute is deemed to have been used intentionally.”
 4   Id. citing 5 Sutherland Stats. & Stat. Constr. §59.8. The court further stated:
 5                  This reading is also apparent from a reading of (8)(C)(ii) within the
                    context of §922(g)(8) as a whole. Subsection (8)(B) limits the statute
 6                  to court orders that restrain persons “from harassing, stalking, or
                    threatening an intimate partner of such person or child of such
 7                  intimate partner or person, or engaging in other conduct that would
                    place an intimate partner in reasonable fear of bodily injury to the
 8                  partner or child,” and it does not include (8)(C)(ii)'s “by its terms
                    explicitly” language. Context suggests that (8)(C)(i) and (8)(C)(ii)
 9                  require something more than what (8)(B) requires. In addition to
                    restraining an individual from harassing, stalking, or threatening an
10                  intimate partner or engaging in similar conduct, the court order must
                    either: (i) include a finding that such person represents a credible
11                  threat to the physical safety of the intimate partner or child, or (ii)
                    expressly by its terms prohibit the use, attempted use, or threatened
12                  use of physical force against the intimate partner or child.
13          Id.
14          The Sanchez court rejected the government’s argument that individuals subject to “no-
15   contact” orders are within the scope of §922(g)(8)(C)(ii) because they “‘have presumably been
16   found to present such a threat to victims that an absolute prohibition of any contact is necessary to
17   protect the victims.’” Id. at 1206. The court stated that a court may issue a “no-contact” order for
18   reasons unrelated to safety and therefore such orders do not carry a presumption that the person
19   subject to the order represents a threat of violence to other persons. Id.
20          Defendant argues that the underlying order must also explicitly state that the protected
21   person is an “intimate partner” of the individual against whom the order is entered. Defendant
22   notes that domestic violence laws in Nevada have broad sweep and can apply to individuals who
23   have committed assaults or batteries against persons who are not their “intimate partners” as
24   defined in §921(a)(32). See City of Las Vegas v. Eighth Judicial District Court, 124 Nev. 540, 188
25   P.3d 55 (Nev. 2008) (holding that a battery against a brother-in-law falls within the definition of
26   domestic violence under NRS §33.018 which defines domestic violence as an assault or battery
27   against a spouse, former spouse or any other person to whom the person is related by blood or
28   marriage and with whom the person actually resides). The Government does not dispute that in

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 1   order to prove a violation of 18 U.S.C. §922(g)(8), it must prove that the person for whose
 2   protection the underlying order was issued, was the “intimate partner” of the defendant as defined
 3   in 18 U.S.C. §921(a)(32). The Government argues, however, that the underlying order does not
 4   have to explicitly identify that person as the defendant’s “intimate partner.”
 5          In support of its position, the Government relies on United States v. Hayes, 555 U.S. 415,
 6   129 S.Ct. 1079 (2009) which involved a conviction under 18 U.S.C. §922(g)(9). Section 922(g)(9)
 7   makes it unlawful for a person to possess a firearm if he or she “has been convicted in any court of
 8   a misdemeanor crime of domestic violence.” 18 U.S.C. §921(a)(33) defines a “misdemeanor crime
 9   of domestic violence” as an offense that (i) is a misdemeanor under Federal, State, or Tribal law
10   and (ii) has, as an element, the use or attempted use of physical force, or the threatened use of a
11   deadly weapon, committed by a current or former spouse, parent or guardian of the victim, by a
12   person with whom the victim shares a child in common, by a person who is cohabiting with or has
13   cohabited with the victim as a spouse, parent, or guardian, or by a person similarly situated to a
14   spouse, parent or guardian of the victim. The defendant in Hayes had been convicted of battering
15   his then wife under a West Virginia battery statute. The state statute did not have as one of its
16   elements a requirement that the defendant be in a “domestic relationship” with the victim.
17          In Hayes, the Supreme Court was required to construe the word “element” as used in 18
18   U.S.C. §921(a)(33). The Court first examined how the word “element” was used in the statute and
19   whether the statutory language required that the underlying misdemeanor conviction be based on a
20   statute that was specifically limited to assaults or batteries arising out of a domestic relationship.
21   The Court held that the statutory language was not so limited. Secondly, the Court relied on
22   “practical considerations.” It noted that at the time 18 U.S.C. §922(g)(9) and 18 U.S.C.
23   §921(a)(33) were enacted, many states did not have statutes that specifically punished assaults or
24   batteries committed upon a spouse or other person in a domestic relationship. The Court concluded
25   that in enacting §922(g)(9), Congress did not intend to eliminate from the prohibition against
26   possession of firearms, individuals who had committed a misdemeanor crime of assault or battery
27   on a domestic partner, but who were not convicted under a statute that required a domestic
28   relationship as an element of the offense.

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 1           The dissenting opinion by Justice Roberts, joined by Justice Scalia, argued that a fair
 2   construction of the statutory language supported the conclusion that the underlying conviction must
 3   be based on a statute that includes a domestic relationship as an element of the offense. Justice
 4   Robert also argued that the majority’s interpretation would often require courts “to go beyond the
 5   fact of conviction and ‘engage in an elaborate factfinding process regarding the defendant’s prior
 6   offens[e], Taylor v. United States, 495 U.S. 575, 601, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990), to
 7   determine whether it happened to involve domestic violence.” Hayes, 129 S.Ct. at 1092 (Justice
 8   Roberts dissenting). Justice Roberts argued that the avoidance of such factual inquiries into the
 9   underlying convictions was one reason the Court adopted a categorical approach to predicate
10   offenses under the Armed Career Criminal Act, 18 U.S.C. §924(e)(1). Id.
11          Although Hayes does not directly apply to §922(g)(8), it is instructive as to how that
12   subsection should be interpreted. Defendant Garretson also attempts to analogize this case to
13   decisions involving the immigration laws, the enforcement of which, in some instances, depend on
14   how an alien’s underlying state court conviction is categorized. The Supreme Court has adopted a
15   “categorical approach” under which the court looks only to the document(s) of conviction and the
16   elements of the state crime for which the defendant was convicted in determining whether it is the
17   type of crime that supports removal or deportation. The court does not consider the evidence that
18   was adduced in the underlying state prosecution. See Gonzales v. Duenas-Alvarez, 549 U.S. 183,
19   193, 127 S.Ct. 815, 820-21 (2007). At least according to the dissent in United States v. Hayes,
20   however, the Supreme Court has eschewed the categorical approach in regard to prosecutions under
21   §922(g)(9). Section 922(g)(8) is not predicated on an underlying criminal conviction. Rather, it is
22   predicated on the existence of a certain type of order that was in force at the time the defendant was
23   in possession of a firearm. Defendant’s analogy to the categorical approach used in immigration
24   cases does not require the conclusion that the underlying order expressly identify the protected
25   person as an intimate partner of the defendant.
26          The holding in Sanchez is limited to §922(g)(8)(C)(ii) which states that the order must “by
27   its terms explicitly” prohibit the use, threatened use, or attempted use of physical force. Section
28   922(g)(8)(B), however, does not require that the person for whose protection the order has been

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 1   issued, be explicitly identified in the order as “an intimate partner” of the defendant. The
 2   Government, however, must prove at trial that Ruchelle Stuart was Defendant’s intimate partner as
 3   defined in §921(a)(32). Count Six of the Indictment is therefore not subject to dismissal on the
 4   grounds that the underlying order does not comport with the requirements of §922(g)(8).
 5          2.      Whether Section 922(g)(8) as Applied To Defendant Violates the Second
                    Amendment.
 6
            Defendant Garretson argues in the alternative that §922(g)(8), as applied to him, violates the
 7
     Second Amendment. In District of Columbia v. Heller, 554 U.S. 570, 128 S.Ct. 2783 (2008), the
 8
     Supreme Court held that the Second Amendment protects an individual’s right to keep and bear
 9
     arms. In so holding, the Court stated that the inherent right of self-defense, particularly in the
10
     home, is central to the Second Amendment right. Id. 128 U.S. at 2817. In McDonald v. City of
11
     Chicago, ___U.S. ___, 130 S.Ct. 3020 (2010), the Court held that the Second Amendment is
12
     applicable to the states through the Fourteenth Amendment. In so holding, the Court again stated
13
     that individual self-defense is the central component of the Second Amendment right. In both
14
     Heller and McDonald, the Court declared invalid local ordinances which had the effect of
15
     prohibiting the possession of handguns by law abiding individuals. Heller stated, however, that the
16
     right secured by the Second Amendment is not unlimited and that nothing in the Court’s opinion
17
     should be taken to cast doubt on longstanding prohibitions on the possession of firearms by felons
18
     and the mentally ill, or laws forbidding the carrying of firearms in sensitive places such as schools
19
     and government buildings, or laws imposing conditions and qualifications on the commercial sale
20
     of arms. 128 S.Ct. at 2816-17. The Court also stated that this list of presumptively lawful
21
     regulatory measures did not purport to be exhaustive. Id. at 2817 n. 26.
22
            Since Heller and McDonald, the lower federal courts have been called on to decide whether
23
     various laws regulating firearms violate the Second Amendment. In deciding these cases, the
24
     courts have also been required to determine the appropriate standard of scrutiny to be applied to a
25
     particular law. “‘[T]he Second Amendment can trigger more than one particular standard of
26
     scrutiny,’ depending, at least in part, upon ‘the type of law challenged and the type of [Second
27
     Amendment] restriction at issue.’” United States v. Reese, 627 F.3d 792, 801 (10th Cir. 2010),
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 1   quoting United States v. Marzzarella, 614 F.3d 85, 96-97 (3rd Cir. 2010). In deciding whether 18
 2   U.S.C. §922(g)(8) violates the Second Amendment, federal courts have applied an intermediate
 3   standard of scrutiny. United States v. Mahin, 668 F.3d 119, 123-24 (4th Cir. 2012); United States
 4   v. Bena, 664 F.3d 1180 (8th Cir. 2011); and United States v. Reese, 627 F.3d 792 (10th Cir. 2010).
 5   Intermediate scrutiny requires the government to demonstrate that the statute serves a significant,
 6   substantial or important government interest and that the fit between the law and its objective is
 7   reasonable, not perfect. Mahin, 668 F.3d at 124; Marzzarella, 614 F.3d at 98. In United States v.
 8   Reese, the court stated that §922(g)(8), like §922(g)(9), prohibits the possession of firearms by
 9   narrow classes of persons who, based on their past behavior, are more likely to engage in domestic
10   violence. Id. 627 F.3d at 802. In upholding the constitutionality of §922(g)(8), the court held that
11   the statute reasonably furthers the important governmental interest in protecting potential victims of
12   domestic abuse from the increased risk of injury or death posed by firearms.
13          The courts have also concluded that §922(g)(8) passes Second Amendment muster because
14   it is narrowly limited in scope. First, as noted in Mahin, “§922(g)(8)’s prohibition on firearm
15   possession is temporally limited and therefore ‘exceedingly narrow.’” 668 F.3d at 125. It only
16   applies to the duration of the domestic protection order and is thus usually a temporary burden
17   during a period when the subject of the order is adjudged to pose a particular risk of future abuse.
18   The order at issue in Mahin had a duration of two years. The order issued against Defendant
19   Garretson had a duration of one year. Second, §922(g)(8) applies only to persons individually
20   adjudged to pose a future threat of domestic abuse “‘after a hearing of which such person received
21   actual notice, and at which such person had an opportunity to participate.’” Id. at 125, quoting
22   statute. The order in this case recites that Defendant Garretson received actual notice of the hearing
23   and was afforded the opportunity to participate. Finally, the order must either include a finding that
24   such person represents a credible threat to the physical safety of the intimate partner, or by its terms
25   explicitly prohibits the use, attempted use, or threatened use of physical force against the intimate
26   partner. Id. at 125-6. The order in this case contained both the finding under (C)(i) and the
27   statement under (C)(ii).
28   ...

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 1          Defendant Garretson raises two challenges to the constitutionality of §922(g)(8) as applied
 2   to him. Both of these challenges are based on the alleged differences between the federal statute
 3   and Nevada laws governing protective orders against domestic violence. First, Defendant
 4   Garretson states that “if this court embraces the broad Nevada definition of what constitutes
 5   domestic violence it will be broadening the impact of 922(g)(8).” Motion to Dismiss (#50), pg. 10.
 6   The indictment in this case does not embrace or rely on the Nevada statute’s arguably broader
 7   definition of domestic violence or its more expansive definition of the persons who may be
 8   protected by such an order. Count Six of the Indictment recites the elements of §922(g)(8),
 9   including that Defendant was restrained by the protective order “from harassing, stalking or
10   threatening an intimate partner” and was by the order’s terms explicitly prohibited from “the use,
11   attempted use, or threatened use of physical force against such intimate partner that would
12   reasonably be expected to cause bodily injury.” Indictment (#1), pg. 5. (Emphasis added).
13   Therefore, in order for Defendant Garretson to be convicted of the charge in Count Six, the
14   Government must prove that Ruchelle Stuart was Defendant’s “intimate partner” as defined in
15   §921(a)(32). The fact that NRS §33.010 may authorize the issuance of orders for the protection of
16   a broader class of persons is irrelevant to the prosecution of Defendant under §922(g)(8).
17   Defendant’s “as applied” challenge to the statute on this basis therefore fails.
18          Defendant’s second as applied challenge to §922(g)(8) is based on the fact that “Nevada law
19   provides for specific and separate proceedings and findings regarding whether someone should lose
20   the right to possess a firearm during the pendency of the extended protective order.” Motion (#50),
21   pg. 10. NRS §33.031 provides that the court may include in the order a prohibition against the
22   adverse party possessing or having custody or control of any firearm while the order is in effect. In
23   making such determination, the court must consider, without limitation, whether the adverse party
24   has a documented history of domestic violence, has used or threatened to use a firearm to injure or
25   harass the applicant, a minor child, or any other person, and has used a firearm in the commission
26   or attempted commission of any crime. NRS. §33.031.2. The Nevada statute also provides a
27   procedure under which the adverse party is required to surrender or sell any firearms in his
28   possession, custody and control when such a provision is included in the order. NRS §33.033. The

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 1   violation of the firearms prohibition is a gross misdemeanor. NRS §33.031.4.
 2          The fact that the Nevada Legislature has adopted a different and perhaps more restrictive
 3   standard for determining when an adverse party should be prohibited from possessing a firearm,
 4   and imposes lesser penalties for violation of such a prohibition, does not render §922(g)(8)
 5   unconstitutional under the Second Amendment. Congress has determined that a person should be
 6   prohibited from possessing a firearm, that has been shipped or transported in interstate commerce,
 7   if an order has been entered against him or her that includes a finding that he or she represents a
 8   credible threat to the physical safety of an intimate partner or child, or which by its terms explicitly
 9   prohibits the use, attempted use, or threatened use of physical force against such intimate partner or
10   child that would reasonably be expected to cause bodily injury. The Courts of Appeal, that have
11   examined §922(g)(8), have concluded that it does not violate the Second Amendment because it
12   furthers an important governmental interest and there is a reasonable fit between the law and its
13   objective.1
14                                              CONCLUSION
15          There is no requirement under 18 U.S.C. §922(g)(8) that the underlying order expressly
16   identify the person for whose protection the order is entered as the intimate partner of the individual
17   against whom the order has been entered. The Government must, however, prove that Ruchelle
18   Stuart was the Defendant’s intimate partner as that term is defined in 18 U.S.C. §921(a)(32). The
19   constitutionality of 18 U.S.C. §922(g)(8) under the Second Amendment has been upheld by the
20   United States Courts of Appeal that have addressed the issue. This Court further concludes that
21   the statute, as applied to Defendant Garretson, does not violate the Second Amendment to the
22   United States Constitution. Accordingly,
23
24          1
             There is no requirement under §922(g)(8) that the underlying order contain an express
25   prohibition against the possession of firearms. The order in this case, however, did contain an
     express warning that “[p]ossession of a firearm or ammunition while this order is in effect may
26   constitute a felony under federal law punishable by a fine of up to $250,000 and/or a prison
27   sentence of up to ten (10) years.” The evidence presented at the evidentiary hearing on May 7,
     2013 shows that Defendant Garretson was in possession of a copy of the order and was therefore on
28   notice of its terms and of the warning.

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 1                                          RECOMMENDATION
 2          IT IS HEREBY RECOMMENDED that Defendant David Allen Garretson’s Motion to
 3   Dismiss Count Six of the Indictment for Failure to State an Offense and, in the Alternative, Motion
 4   to Dismiss The Count As Violative of the Second Amendment as Applied (#50) be denied.
 5                                                  NOTICE
 6          Pursuant to Local Rule IB 3-2, any objection to this Finding and Recommendation must be
 7   in writing and filed with the Clerk of the Court within fourteen (14) days. The Supreme Court has
 8   held that the courts of appeal may determine that an appeal has been waived due to the failure to
 9   file objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142 (1985). This circuit
10   has also held that (1) failure to file objections within the specified time and (2) failure to properly
11   address and brief the objectionable issues waives the right to appeal the District Court’s order
12   and/or appeal factual issues from the order of the District Court. Martinez v. Ylst, 951 F.2d 1153,
13   1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).
14          DATED this 12th day of June, 2013.
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                                                    GEORGE FOLEY, JR.
17                                                  United States Magistrate Judge
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